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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

  Civil Action No. 22-cv-00448-CNS-KLM

  KATHERINE FRIESS,

        Plaintiff,

  v.

  BENNIE G. THOMPSON, and
  SELECT COMMITTEE TO INVESTIGATE THE JANUARY 6TH ATTACK ON THE
  UNITED STATES CAPITOL, a committee of the United States House of
  Representatives.

        Defendants.


                                    FINAL JUDGMENT


        In accordance with the orders filed during the pendency of this case, and

  pursuant to Fed. R. Civ. P. 58(a), the following Final Judgment is hereby entered.

        Pursuant to the ORDER of U.S. District Judge Charlotte N. Sweeney issued on

  November 17, 2022, [ECF No. 45] it is

        ORDERED that the Recommendation of United States Magistrate Judge Mix

  [ECF No. 44] is AFFIRMED and ADOPTED. It is

        FURTHER ORDERED that the defendants’ Motion to Dismiss [ECF No 24] is

  GRANTED. It is

        FURTHER ORDERED that this case is closed.
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        Dated at Denver, Colorado this 17th day of November, 2022.



                                              FOR THE COURT:
                                              JEFFREY P. COLWELL, CLERK




                                           By: s/ J. Dynes
                                                    J. Dynes,
                                                    Deputy Clerk
